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        IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF OKLAHOMA

DAVID BRIAN MORGAN,                         )
KAMERON VICKERS,                            )
ERNEST DRAPER,                              )
ROBERT ABUAN,                               )
ERNEST MONCADA,                             )
JONATHON GRAHAM,                            )
STEVEN GLEN CRADDOCK,                       )
CLEVE BILLINGS,                             )
BRIAN CASH,                                 )
JAMES SATTERLEE,                            )
ERIC LUCAS,                                 )
MARK SHEMM, and                             )      Case No. CIV-20-494-D
GARY SOUTHLAND,                             )
                                            )
       Plaintiffs,                          )
                                            )
v.                                          )
                                            )
UNITED STATES OF AMERICA,                   )
et al.,                                     )
                                            )
       Defendants.                          )


ENTER ORDER:

The court is in receipt of Plaintiff Eric Lucas’ notice to “drop out of this case.”
See Doc. 15. The Clerk of the Court is instructed to strike Eric Lucas from the
list of Plaintiffs.

By direction of Magistrate Judge Suzanne Mitchell, we have entered the above
enter order.

                                      CAMELITA REEDER SHINN, CLERK


                                      By:       s/Lesa Boles
                                                Deputy Clerk
